Dear Auditor Montee:
This office received your letter of December 15, 2009, submitting a fiscal note and fiscal note summary prepared under § 116.175, RSMo, for an initiative petition submitted by Barbara Schmitz (version 2). The fiscal note summary that you submitted is as follows:
  It is estimated state governmental entities will incur costs of $654,768 (on-going costs of $521,356 and one-time costs of $133,412). Some local governmental entities may experience costs related to enforcement activities and savings related to reduced animal care activities.
Under § 116.175, we approve the legal content and form of the fiscal note summary. Because our review of the fiscal note summary is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
                                                         Very truly yours, _________________ Chris Koster Attorney General